        Case 1:20-cv-02013-GLR           Document 84        Filed 01/08/25     Page 1 of 1



                                  UNITED STATES DISTRICT COURT
                                     DISTRICT OF MARYLAND
     Chambers of                                                          101 West Lombard Street
   George L. Russell, III                                                 Baltimore, Maryland 21201
 Chief United States District Judge                                             410-962-4055

                                          January 8, 2025

MEMORANDUM TO COUNSEL RE:                            Tessemae’s LLC v. Michael McDevitt, et al.
                                                     Civil Action No. GLR-20-2013

Dear Counsel:

        The parties are directed to submit a joint status report no later than thirty (30) days from
the date of this memorandum to include whether or not they object to an administrative closure of
the case, subject to reopening by any party, and any other matter that needs to be brought to the
attention of this Court.

       Despite the informal nature of this memorandum, it shall constitute an Order of the Court,
and the Clerk is directed to docket it accordingly.

                                              Very truly yours,

                                                        /s/
                                              George L. Russell, III
                                              Chief United States District Judge
